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     Assistant U.S. Attorney
3    Federal Courthouse
     2500 Tulare St., Suite 4401
4    Fresno, California 93721
     Telephone: (559) 497-4000
5    Facsimile: (559) 497-4099
6
7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,)      Case No. 1:07-mj-00233 DLB
                              )
12                  Plaintiff,)      STIPULATION TO CONTINUE
                              )      PRELIMINARY HEARING
13             v.             )
                              )
14   ALBERT MUHAMMAD,         )
                              )
15                  Defendant )
     _________________________)
16
17        IT IS HEREBY STIPULATED by and between the parties hereto
18   and through their attorneys of record that the preliminary
19   hearing presently scheduled before the Honorable Dennis L. Beck
20   for November 27, 2007    be continued to December 7, 2007.
21        All parties herein, through their respective counsel have
22   been contacted regarding the requested continuance and concur
23   with this request.
24        Pursuant to Rule 5.1(d), FRCP, the defendant specifically
25   agrees to extend the requirement that his preliminary hearing be
26   held within ten days of his arrest pursuant to Rule 5.1(c), FRCP.
27   The defendant agrees that there is good cause to extend the ten
28   day requirement.

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1          IT IS SO STIPULATED:
2
     Dated: November 20, 2007           McGregor W. Scott
3                                       United States Attorney
4                                        /s/ Kimberly A. Sanchez
                                        By: KIMBERLY A. SANCHEZ
5                                           Assistant U.S. Attorney
6    Dated: November 20, 2007            /s/ James Homola
                                        JAMES HOMOLA
7                                       Attorney for Defendant
                                        ALBERT MUHAMMAD
8
9
10        IT IS SO ORDERED.
11       Dated:   November 20, 2007                 /s/ Dennis L. Beck
     3b142a                                UNITED STATES MAGISTRATE JUDGE
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